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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

   ALYSSON RIFFE,                                 CIVIL ACTION NO. 5:21-256-KKC
          Plaintiff,

   v.                                                        JUDGMENT


   PHEAA, et al.,
          Defendants.


                                         *** *** ***

        In accordance with the order entered on this date, the Court hereby ORDERS and

ADJUDGES as follows:

        1) The plaintiff’s claims are DISMISSED WITHOUT PREJUDICE;

        2) This Judgment is FINAL and APPEALABLE; and

        3) This matter is STRICKEN from the Court’s active docket.

        This 11th day of August, 2023.
